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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                         TYLER DIVISION

                                                        §
NETWORK-1 SECURITY SOLUTIONS,                           §
INC.,                                                   §
                                                        §
        Plaintiff,                                      §
                                                        §        CASE NO. 6:11-CV-492-LED-JDL
v.                                                      §
                                                        §       JURY TRIAL REQUESTED
ALCATEL-LUCENT USA INC., et al.,                        §
                                                        §
        Defendants.                                     §


                                                  ORDER

        Before the Court is Defendants’1 Motion to Stay Pending Inter Partes Review (Doc. No.

374). On February 19, 2013, Plaintiff Network-1 Security Solutions, Inc. (“Network-1”) filed a

Notice of Non-Opposition .to Defendants’ Motion. (Doc. No. 399). Having considered the

parties’ Unopposed Motion, the Motion to Stay Pending Inter Partes Review is GRANTED.

The Clerk of Court is directed to administratively close the case, and this action is hereby stayed

pending the disposition of re-examination and until further order of the Court. The case remains

open for the submission of closing documents as to Defendants Huawei Technologies Co., Ltd.

and Huawei Technologies USA Inc. All pending motions are denied as moot without prejudice

to re-filing once the stay is lifted. Any party may request the Court lift the stay once re-
                                SIGNED this 19th day of December, 2011.
examination is completed.     So ORDERED and SIGNED this 5th day of March, 2013.




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 Moving Defendants are: AXIS Communications AB, AXIS Communications, Inc., Alcatel-Lucent Holdings Inc.,
Alcatel-Lucent USA Inc., Avaya Inc., Dell Inc., Hewlett-Packard Company, Juniper Networks, Inc., Polycom, Inc.,
Shoretel, Inc., Sony Corporation, Sony Corporation of America, Sony Electronics Inc.
